106 F.3d 411
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.John Bernette TYDINGCO, Defendant-Appellant.
    No. 96-10009.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 21, 1997.*Decided Jan. 24, 1997.
    
      Before:  O'SCANNLAIN, LEAVY, and KLEINFIELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      John Bernette Tydingco appeals his conviction and 188-month sentence following a guilty plea to importing methamphetamine in violation of 21 U.S.C. §§ 952(a) and 960, and possession with intent to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1).  Pursuant to Anders v. California, 386 U.S. 738 (1967), Tydingco's counsel filed a brief stating that he finds no meritorious issues for review, and a motion to withdraw as counsel of record.  Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.  Accordingly, the motion of counsel to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4.  Tydingco's request for the appointment of new counsel is denied
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    